                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF KENTUCKY
                   NORTHERN DIVISION AT COVINGTON


NICHOLAS SANDMANN, by and         :   CASE NO. 19-CV-00056-WOB-CJS
through his parents and natural   :
guardians, TED SANDMANN and       :
JULIE SANDMANN,                   :
                                  :
      Plaintiff,                  :
                                  :
v.                                :
                                  :
NBCUNIVERSAL MEDIA, LLC           :
                                  :
      Defendant.
                                  :
                                  :
                                  :


NICHOLAS SANDMANN, by and         :   CASE NO. 20-CV-00023-WOB-CJS
through his parents and natural   :
guardians, TED SANDMANN and       :
JULIE SANDMANN,                   :
                                  :
      Plaintiff,                  :
                                  :
v.                                :
                                  :
THE NEW YORK TIMES COMPANY        :
d/b/a THE NEW YORK TIMES          :
                                  :
      Defendant.                  :
                                  :


NICHOLAS SANDMANN, by and         :   CASE NO. 20-CV-00024-WOB-CJS
through his parents and natural   :
guardians, TED SANDMANN and       :
JULIE SANDMANN,                   :
                                  :
      Plaintiff,                  :
                                  :
v.                                :
                                  :
CBS NEWS, INC., et al.            :
                                  :
                                  1
      Defendants.                 :
                                  :
                                  :


NICHOLAS SANDMANN, by and         :   CASE NO. 2:20-CV-00025-WOB-CJS
through his parents and natural   :
guardians, TED SANDMANN and       :
JULIE SANDMANN,                   :
                                  :
      Plaintiff,                  :
                                  :
v.                                :
                                  :
ABC NEWS, INC., et al.            :
                                  :
      Defendants.
                                  :
                                  :
                                  :


NICHOLAS SANDMANN, by and         :   CASE NO. 2:20-CV-00026-WOB-CJS
through his parents and natural   :
guardians, TED SANDMANN and       :
JULIE SANDMANN,                   :
                                  :
      Plaintiff,                  :
                                  :
v.                                :
                                  :
GANNETT CO., INC. AND GANNETT     :
SATELLITE INFORMATION             :
NETWORK, LLC,                     :
                                  :
      Defendants.
                                  :



NICHOLAS SANDMANN, by and         :   CASE NO. 2:20-CV-00027-WOB-CJS
through his parents and natural   :
guardians, TED SANDMANN and       :
JULIE SANDMANN,                   :
                                  :
      Plaintiff,                  :
                                  :
v.                                :
                                  :
                                  :
                                  2
 ROLLING STONE, LLC, et al.                       :
                                                  :
        Defendants.                               :
                                                  :


                                         *** *** *** ***

  JOINT STIPULATION REGARDING AUTHENTICITY AND ADMISSIBILITY OF
                             VIDEOS

       The parties to the above-entitled actions, having met and conferred, and upon determining

that good cause exists for the foregoing, hereby stipulate as follows:

       1.       Attached as Exhibit 1 is a USB flash drive containing 20 video files. Each video

file on the drive is named with a number, starting with “Video 1, Video 2”, etc. The videos in

Exhibit 1 shall be deemed authentic and the parties waive any hearsay objection to the admissibility

of any of the videos in Exhibit 1. In any phase of this case the parties reserve the right to object to

the admissibility of any video in Exhibit 1, in whole or in part, on any other ground, including but

not limited to relevance, materiality, and unfair prejudice.

       2.       For the convenience of the Court, the videos may also be accessed online at the

following Dropbox links:

   Video Title                                  Dropbox Link to Video
     Video 1        https://www.dropbox.com/s/wz29kgpvi5szx57/Video%201.mp4?dl=0
     Video 2        https://www.dropbox.com/s/hlo0r6pnckijus4/Video%202.mp4?dl=0
     Video 3        https://www.dropbox.com/s/ccj1jri6nwam0np/Video%203.mp4?dl=0
     Video 4        https://www.dropbox.com/s/r669sphtcafllx1/Video%204.mp4?dl=0
     Video 5        https://www.dropbox.com/s/dncy7g5c419p3mu/Video%205.mp4?dl=0
     Video 6        https://www.dropbox.com/s/bssh229je1socwq/Video%206.mp4?dl=0
     Video 7        https://www.dropbox.com/s/1z1a7kcj4hr6wn0/Video%207.mp4?dl=0
     Video 8        https://www.dropbox.com/s/asi18roehztkj56/Video%208.mp4?dl=0
     Video 9        https://www.dropbox.com/s/3yg38oolsap3iac/Video%209.mp4?dl=0
     Video 10       https://www.dropbox.com/s/7xj6mish81ezr2s/Video%2010.mp4?dl=0
     Video 11       https://www.dropbox.com/s/3ej3nk9saqlxe4k/Video%2011.mp4?dl=0
                                                  3
                 https://www.dropbox.com/s/aje87abzyuxfyn8/Video%2012.mp4?dl=0
    Video 12


    Video 13     https://www.dropbox.com/s/y5z0lbtuo2tnx28/Video%2013.mp4?dl=0
    Video 14     https://www.dropbox.com/s/1mmb5jt0ee906fx/Video%2014.mov?dl=0
    Video 15     https://www.dropbox.com/s/z4ntolz5w2qs7vi/Video%2015.mp4?dl=0
    Video 16     https://www.dropbox.com/s/kgeelapduuw0wxx/Video%2016.mp4?dl=0
    Video 17     https://www.dropbox.com/s/j4okqo8wz7228m9/Video%2017.mp4?dl=0
    Video 18     https://www.dropbox.com/s/3mgfjlic4vsd9zn/Video%2018.mp4?dl=0
    Video 19     https://www.dropbox.com/s/opxwc6zijenldok/Video%2019.mp4?dl=0
    Video 20     https://www.dropbox.com/s/s2i1591ugmb0a5d/Video%2020.mp4?dl=0


      IT IS SO STIPULATED.

Dated: December 6, 2021

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EXHIBIT A
